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1    McGREGOR W. SCOTT
     United States Attorney
2    KATHLEEN A. SERVATIUS
     Assistant U.S. Attorneys
3    Federal Building
     2500 Tulare Street, Ste. 4401
4    Fresno, CA 93721
     Telephone: (559) 497-4000
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8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           1:04-CR-5185 OWW
                                   )
12             Plaintiff,          )           PRELIMINARY ORDER OF FORFEITURE
                                   )           RE PERSONAL PROPERTY OF ANABERTHA
13             v.                  )           CASILLAS AND FRANCISCO MARRERO
                                   )           FARIAS
14   ANABERTHA CASILLAS, AND       )
     FRANCISCO MARRERO FARIAS,     )
15   et al.,                       )
                                   )
16             Defendants.         )
     ______________________________)
17
18        Based upon the plea agreements entered into between plaintiff
19   United States of America and defendants Anabertha Casillas and
20   Francisco Marrero Farias, it is hereby
21        ORDERED, ADJUDGED AND DECREED as follows:
22        1.   Pursuant to 21 U.S.C. § 853, defendant Anabertha Casillas’
23   interest in the following property shall be condemned and forfeited
24   to the United States of America, to be disposed of according to law:
25              (a)   Approximately $43,141.01 in foreclosure sale
                      proceeds as a sub res in lieu of the real property
26                    located at 900 West Canal Drive, #110, Turlock,
                      California, APN: 061-042-006.
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28        2.   Pursuant to 21 U.S.C. § 853, defendant Francisco Marrero

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1    Farias’s interest in the following property shall be condemned and
2    forfeited to the United States of America, to be disposed of
3    according to law:
4               (a)    Approximately $11,185.00 in U.S. Currency seized
                       on or about June 29, 2004 from the residence
5                      located at 9669 Driftwood Avenue, Delhi, California.
6         3.   That the above-listed forfeited properties constitute or
7    were derived from proceeds defendants obtained directly or
8    indirectly as a result of a violation of 21 U.S.C. §§ 841(a)(1) and
9    846 and/or were used or intended to be used in any manner or part to
10   commit and to facilitate the commission of said violations.
11        4.   Pursuant to Rule 32.2(b), the Attorney General (or a
12   designee) shall be authorized to seize the above-described
13   properties.     That the aforementioned forfeited properties shall be
14   seized and held by the United States Marshals Service, in its secure
15   custody and control.
16        5.    a.    Pursuant to 21 U.S.C. § 853(n) and Local Rule 83-171,
17   the United States forthwith shall publish at least once for three
18   successive weeks in the Modesto Bee (Stanislaus County) and the
19   Merced Sun Star (Merced County), newspapers of general circulation
20   located in the counties in which the above-described properties were
21   seized and/or are located, notice of this Order, notice of the
22   Attorney General’s intent to dispose of the properties in such
23   manner as the Attorney General may direct, and notice that any
24   person, other than the defendants, having or claiming a legal
25   interest in the above-listed forfeited properties must file a
26   petition with the Court within thirty (30) days of the final
27   publication of the notice or of receipt of actual notice, whichever
28   is earlier.

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1               b.   This notice shall state that the petition shall be for
2    a hearing to adjudicate the validity of the petitioner's alleged
3    interest in the properties, shall be signed by the petitioner under
4    penalty of perjury, and shall set forth the nature and extent of the
5    petitioner's right, title or interest in the forfeited properties
6    and any additional facts supporting the petitioner's claim and the
7    relief sought.
8               c.   The United States may also, to the extent practicable,
9    provide direct written notice to any person known to have alleged an
10   interest in the properties that are the subject of the Order of
11   Forfeiture, as a substitute for published notice as to those persons
12   so notified.
13        6.   If a petition is timely filed, upon adjudication of all
14   third-party interests, if any, this Court will enter a Final Order
15   of Forfeiture pursuant to 21 U.S.C. § 853 in which all interests
16   will be addressed.
17   IT IS SO ORDERED.
18   Dated: June 1, 2006                    /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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